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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA

         v.
                                                      No. 21-cr-478 (ER)
 TREVOR MILTON,

                               Defendant.


                      MOTION FOR PERMISSION TO BRING
              ELECTRONIC DEVICES INTO COURTROOM DURING TRIAL

        Pursuant to the District’s Courthouse Security Policies, including the Court’s February

27, 2014 Standing Order (M10-468), the undersigned counsel for defendant Trevor Milton

(“Defendant”) respectfully moves for permission to bring computers and other electronic devices

into the courtroom, and to access the Courthouse’s Wi-Fi network for purposes of pre-trial

conferences and trial. Specifically, defense counsel requests permission to bring those items

identified in their Application, appended to this Motion.

        This Motion is supported by good cause in that each of the identified devices is necessary

to aid counsel in the presentation of evidence, examination of witnesses, and other aspects of

trial in this matter.

        WHEREFORE, for the foregoing reasons, Defendant respectfully requests that the Court

permit the undersigned counsel and their support personnel to bring the identified electronic

devices into the courtroom, and to gain access to the Courthouse’s Wi-fi during pre-trial

conferences and trial.

Dated: New York, New York                            Respectfully submitted,
       June 13, 2022
                                                     MUKASEY FRENCHMAN LLP

                                               By:    /s/ Marc L. Mukasey
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